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     Attorney for Plaintiffs, John Roe 1, Jane Roe 1,
6    Jane Roe 2, Jane Roe 3, and John Roe 2, on behalf of
7     themselves and all others similarly situated
8
                             UNITED STATES DISTRICT COURT
9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
     JOHN ROE 1, an individual; JANE ROE 1, CASE NO. 22-cv-00983-DFM
12   an individual; JANE ROE 2 an individual;
13   JANE ROE 3, an individual, JOHN ROE 2, Assigned to the Hon. Douglas F. McCormick
     on behalf of themselves and all others   Crtm. 6B
14   similarly situated,                      Complaint filed: 03-18-2022
15
                               Plaintiff,
16   vs.                                          PLAINTIFFS’ APPLICATION TO
                                                  SEAL; DECLARATION OF LENORE
17
     THE STATE BAR OF CALIFORNIA;                 ALBERT
18
     TYLER TECHNOLOGIES, INC.; KEVAN
19   SCHWITZER; RICK RANKIN; and DOES
20
     4 through 10, inclusive,
                              Defendants.
21
22
            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
23
     RECORD:
24
            PLEASE TAKE NOTICE THAT Plaintiffs John Roe 1, Jane Roe 1, Jane Roe
25
26   2, Jane Roe 3 and John Roe 2 (referred to collectively as “Plaintiff” or "Plaintiffs"), by

27   and through their attorney, and APPLIES for an ORDER sealings Document 99
28                                                1
           PLAINTIFFS’ APPLICATION TO SEAL; DECLARATION OF LENORE
                                   ALBERT
              Roe v The State Bar of California, et al.              22-cv-00983-DFM
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1    “Second Amended Complaint” pursuant to Local Rule 79-5 on the grounds the
2    incorrect draft of the pleading was erroneously filed and it contained work product
3    privilege. The application will be considered by the Honorable Douglas F. McCormick
4
     sitting in Courtroom 6B of the United States District Court for the Central District of
5
     California, located at 411 W. Fourth Street, Santa Ana, California 92701.
6
            “ A Party may file documents under seal only for good cause and to the extent necessary to
7    preserve legitimate confidentiality concerns.” Jones v. Bath & Body Works (C.D. Cal., Jan. 16, 2014,
8    CV 13-5206 FMO (AJWx)) [pp. 1]
9           Document No. 99 was erroneously filed containing work product privilege of
10   plaintiffs’ antitrust law and economic experts warranting good cause for sealing the
11
     record. The ECF system went down shortly thereafter for several days. When the ECF
12
     system came back online on October 10, 2022 plaintiffs filed the correct document
13
     with an errata. In the interim defense counsel was contacted and made aware of the
14
     incorrect filing and do not oppose the record being removed or placed under seal. As
15
     such, no prejudice to the parties or public is grounds for denial because there exists an
16
     overriding interest in sealing the document that overcomes the public’s right to access
17
     it.
18
19
            Wherefore the plaintiffs respectfully request that this Court filed Doc. No. 99

20   under seal.
21   Dated: October 11, 2022                     Respectfully Submitted,
                                                 LAW OFFICES OF LENORE ALBERT
22                                               /s/ Lenore Albert______________________
23                                               LENORE L. ALBERT, ESQ.
                                                 Attorney for Plaintiffs, John Roe 1, Jane Roe 1,
24
                                                 Jane Roe 2, Jane Roe 3, and John Roe 2, on
25                                               behalf of themselves and all others similarly
26                                               situated
27
28                                                      2
           PLAINTIFFS’ APPLICATION TO SEAL; DECLARATION OF LENORE
                                   ALBERT
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1                                          DECLARATION
2          I, Lenore Albert, am the attorney for the plaintiffs in the above-captioned matter
3    and am licensed to practice law before the highest court in the state of California, the
4
     state of Michigan and the United States Supreme Court. I am a member in good standing
5
     in the United States District Court for the Central District of California. If called as a
6
     witness, I could testify competently to the following:
7
           1. On September 15, 2022 I attended the hearing to dismiss the first amended
8
               complaint in this case.
9
           2. On September 16, 2022 I had a case with a continued jury trial date trail but it
10
               was picked up by the Judge the following week.
11
12         3. I have been in that jury trial since that time.

13         4. In the interim I hired and consulted with one or more antitrust experts to assist
14             in rebuilding viable economic models for the redrafting the antitrust claims and
15             one of those drafts erroneously was uploaded on October 7, 2022
16             approximately an hour prior to the ECF going down for maintenance (about
17             8PM PST).
18         5. I did not discover the mistake until after 8PM on October 7, 2022.
19         6. Discovery is not open and this contained work product privileged information.
20         7. Even if it did not, it was a draft (the incorrect document).
21
           8. I tried contacting the ECF helpdesk, checked the ECF system daily, and
22
               informed the defense counsel of the situation.
23
           9. Without attaching our email communications back and forth, in summary
24
               defense counsel all agreed that the erroneous filing never reached them or they
25
               had not looked at it; that it could be sealed; and that plaintiffs would not be late
26
               by refiling the correct document.
27
28                                                 3
         PLAINTIFFS’ APPLICATION TO SEAL; DECLARATION OF LENORE
                                 ALBERT
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1          10.Wherefore I request that the draft filed at Docket Number 99 be sealed.
2    I declare under penalty of perjury of the laws of the United States that the foregoing is
3    true and correct to the best of my knowledge. Executed this day in Irvine, California.
4
     Dated: October 11, 2022                Respectfully Submitted,
5
                                            LAW OFFICES OF LENORE ALBERT
6                                           /s/ Lenore Albert______________________
7
                                            LENORE L. ALBERT, ESQ.
                                            Attorney for Plaintiffs, John Roe 1, Jane Roe 1,
8                                           Jane Roe 2, Jane Roe 3, and John Roe 2, on
9                                           behalf of themselves and all others similarly
                                            situated
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         PLAINTIFFS’ APPLICATION TO SEAL; DECLARATION OF LENORE
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1                                       PROOF OF SERVICE
2    STATE OF CALIFORNIA, COUNTY OF ORANGE:
3     I declare that I am over the age of 18 years, and not a party to the within action; that I
     am employed in Orange County, California; my business address is 1968 S. Coast Hwy
4
     #3960, Laguna Beach, CA 92651. On October 11, 2022, I served a copy of the
5    following document(s) described as:
6
     PLAINTIFFS’ APPLICATION TO SEAL; DECLARATION OF LENORE
     ALBER
7    On the interested parties in this action as follows:
8
     [x] BY E-SERVE and EMAIL – I caused such document(s) to be transmitted to the
9    office(s) of the addressee(s) listed above by electronic mail at the e-mail address(es) set
10   forth. (Per Covid-19 Order)
     [] BY MAIL– I caused such document(s) to be placed in pre-addressed envelope(s)
11
     with postage thereon fully prepaid and sealed, to be deposited as regular US Mail at
12   Huntington Beach, California, to the aforementioned addressee(s).
13    I declare under penalty of perjury under the laws of the State of California and the
     United States of America that the foregoing is true and correct.
14
15   Dated: October 11, 2022
                                                      _/s/Lenore Albert_____________________
16
                                                                Lenore Albert
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         PLAINTIFFS’ APPLICATION TO SEAL; DECLARATION OF LENORE
                                 ALBERT
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         PLAINTIFFS’ APPLICATION TO SEAL; DECLARATION OF LENORE
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